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                            UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH SOUTHERN REGION


  SHERRY TERESA, individually and on              ORDER GRANTING MOTION FOR
  behalf of others similarly situated,            PRO HAC VICE ADMISSION OF
                                                  ANDREW BRANTINGHAM
         Plaintiff,
                                                  Civil No. 4:24-CV-00033-TS-PK
  vs.
                                                  Judge Ted Stewart
  MAYO FOUNDATION FOR MEDICAL                     Magistrate Judge Paul Kohler
  EDUCATION AND RESEARCH,

         Defendant.


        Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of Andrew

 Brantingham. Based on the motion and for good cause appearing,

        IT IS HEREBY ORDERED that the motion is GRANTED.

        DATED this ____ day of ___________, 2024.

                                                  BY THE COURT:




                                                  ____________________________________
                                                  Magistrate Judge Paul Kohler
